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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION

COALITION FOR GOOD                        )
GOVERNANCE and DONNA                      )
CURLING,                                  )
                                          )   Civil Action No. 5:23-mc-00001-LGW-BWC
       Plaintiffs,                        )
                                          )   In RE Subpoenas issued by the United States
v.                                        )   District Court For the Northern District of
                                          )   Georgia, Atlanta Division, Civil Action No.
COFFEE COUNTY BOARD OF                    )   1:17-CV-2989-AT
ELECTIONS AND REGISTRATION,               )
                                          )
       Defendant.                         )


     DEFENDANT’S RESPONSE BRIEF ON THE PRIVILEGE LOG ISSUE


       Defendant Coffee County Board of Election and Registration (the “CCBOE”) files

this response to Plaintiffs Coalition for Good Governance and Donna Curling’s Motion

to Compel. (Doc. 1). As directed by the Court, this response only addresses the issue of

the privilege log raised in Plaintiffs’ Motion to Compel. (Doc. 1, pp. 18-19)

                              FACTUAL BACKGROUND

       On June 15, 2022, and July 25, 2022, Plaintiffs served document subpoenas on

the CCBOE. (Doc. 1, Exhibits 1 and 2). The subpoenas were issued by the United States

District Court for the Northern District of Georgia in Curling, et al. v. Raffensperger, et

al., No. 1:17-CV-2989-AT. Both subpoenas contained broad requests that encompassed

scores of privileged documents and communications. (Doc. 1, Exhibits 1 and 2). The

CCBOE responded to the subpoenas and served a privilege log of the withheld

documents.




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       On August 18, 2022, Plaintiffs objected to the CCBOE’s privilege log on the basis

that it did not contain a “date field.” (Exhibit A, August 2022 Emails, p. 6). On August

26, 2022, the CCBOE addressed Plaintiffs’ objection by serving upon Plaintiffs an

updated privilege containing the requested date field (the “Updated Privilege Log”).

(Exhibit B, Updated Privilege Log). Plaintiffs’ counsel did not object to the Updated

Privilege Log. (Exhibit C, November 2023 Emails) (where Plaintiffs’ counsel confirmed

that they made no objection to the Updated Privilege Log until they filed the subject

Motion to Compel).

       Despite not raising a contemporaneous objection to the Updated Privilege Log,

Plaintiffs argue in their Motion to Compel that the Updated Privilege Log is inadequate

and that the CCBOE refused “to produce the necessary privilege log with required

detail.” (Doc. 1, pp. 18-19). As shown below, the Court should deny Plaintiffs’ request

that the CCBOE prepare an additional privilege log for the separate and independent

reasons that (1) Plaintiffs failed to timely object to the Updated Privilege Log and failed

to confer in good faith with the CCBOE prior to filing their Motion to Compel; and (2)

the Updated Privilege Log is sufficient to enable Plaintiffs to assess the CCBOE’s claims

of privilege.

                  ARGUMENT AND CITATIONS TO AUTHORITY

       A.       Standard

       “The district court has broad discretion under Federal Rule of Civil Procedure 26

to compel or deny discovery[.]” Josendis v. Wall to Wall Residence Repairs, Inc., 662

F.3d 1292, 1307 (11th Cir. 2011). “Discretion means the district court has a ‘range of

choice, and that its decision will not be disturbed as long as it stays within that range

and is not influenced by any mistake of law.’” Id. (quoting Betty K Agencies, Ltd. v. M/V

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MONADA, 432 F.3d 1333 (11th Cir. 2005)). Accordingly, under “the abuse of discretion

standard, [the Court of Appeals] will leave undisturbed a district court’s ruling unless

[it] find[s] that the district court has made a clear error of judgment or has applied the

wrong legal standard.” Id.

       B.     Plaintiffs did not confer in good faith with the CCBOE regarding
              the Updated Privilege Log prior to filing the Motion to Compel.

       A motion to compel “must include a certification that the movant has in good

faith conferred or attempted to confer with the person or party failing to make

disclosure or discovery in an effort to obtain it without court action.” Fed. R. Civ. P.

37(a)(1); see S.D. Local Rule 26.5. This Court has routinely denied motions to compel

when it is determined that the movant has not conferred in good faith with the opposing

party prior to filing the motion. See McCranie v. Hoffman Elec. Co., No. CV408-011,

2008 WL 11349686 (S.D. Ga. May 27, 2008); DirecTV, LLC v. Shirah, No. CV413-110,

2013 WL 5962870 (S.D. Ga. Nov. 6, 2013); Knight v. Beall’s Outlet Stores, Inc., No. 2:15-

CV-166, 2016 WL 4480103 (S.D. Ga. Aug. 23, 2016); Scruggs v. Int’l Paper Co., No.

CV411-203, 2012 WL 1899405 (S.D. Ga. May 24, 2012).

       Pertinent here, a movant’s failure to object to a discovery matter prior to filing a

motion to compel is indicative of the movant’s failure to confer with opposing counsel in

good faith. For example, in Toenniges v. Morales, No. CV 311-083, 2012 WL 12915497

(S.D. Ga. Oct. 26, 2012), a plaintiff filed a motion to compel asserting that a defendant

had failed to satisfactorily respond to written discovery. Notably, the plaintiff did not

serve objections to the defendant’s written discovery responses prior to filing the motion

to compel. Id. at 2. The court held:

       As this is the first instance in which Plaintiff has voiced his objections to
       those responses, Defendant has logically not yet had a chance to reply to

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       the objections or to make an effort to clarify or correct his responses.
       Thus, since Plaintiff has improperly attempted to introduce his objections
       to Defendant’s responses in his motion to compel—and, accordingly,
       clearly failed to make the requisite good faith effort to resolve the
       discovery dispute prior to filling the motion—the Court need not and will
       not address those objections here.

Id. at 3 n.4.

       Here, Plaintiffs did not raise any objections to the Updated Privilege Log until

filing their Motion to Compel. When asked for evidence of objections made after the

Update Privilege Log was served on August 26, 2022, Plaintiffs’ counsel wrote:

       [W]e made clear on the pre-hearing conf call with you guys before the last
       hearing that we did not raise the issue again After August 26
       because the videos were made known on August 26, and we spent all of
       our time on analyzing those (which took a lot of time) before the Sept 1
       30b6. After the 30b6, we did not pursue the matter until the
       revelations regarding all of the emails and documents the GBI
       located on the CCBOER desktop and this action was filed.

(Ex. C, p. 1) (emphasis added). Because Plaintiffs admittedly did not object to the

Updated Privilege Log, Plaintiffs “clearly failed to make the requisite good faith effort to

resolve the discovery dispute prior to filling the motion.” Toenniges, 2012 WL 12915497,

3 n.4. Accordingly, the Court should deny Plaintiffs’ Motion to Compel as to the issue of

the privilege log.

       C.       The Updated Privilege Log is sufficient to enable Plaintiffs to
                assess the asserted privileges.

       “When a party withholds information otherwise discoverable by claiming that the

information is privileged or subject to protection as trial-preparation material, the party

must . . . describe the nature of the documents, communications, or tangible things not

produced or disclosed--and do so in a manner that, without revealing information itself

privileged or protected, will enable other parties to assess the claim.” Fed. R. Civ. P.

26(b)(5)(A)(ii). The 1993 Advisory Committee Notes to Rule 26 explain that:

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      The rule does not attempt to define for each case what information must
      be provided when a party asserts a claim of privilege or work product
      protection. Details concerning time, persons, general subject matter, etc.,
      may be appropriate if only a few items are withheld, but may be unduly
      burdensome when voluminous documents are claimed to be privileged or
      protected.

Applying this logic, courts have held that category-based logs are sufficient when the

sheer number of documents renders a document-by-document log unduly burdensome

and unnecessary. See MCC Mgmt. of Naples, Inc. v. Arnold & Porter LLP, No. 207-CV-

387-FTM-29SPC, 2010 WL 2431849 (M.D. Fla. June 16, 2010); In re Imperial Corp. of

Am., 174 F.R.D. 475 (S.D. Cal. 1997).

      Here, the Updated Privilege Log is sufficient to enable Plaintiffs to assess the

claims of privilege. The Updated Privilege Log includes authors, recipients, privileges,

descriptions, and certain dates. (Ex. B). Additionally, the Updated Privilege Log includes

the following explanatory notation which is consistent with the 1993 Advisory

Committee Notes to Rule 26:

      F.R.C.P. 26(b)(5)(A)(ii) only requires that the party describe the nature of
      the privileged material in a manner that will enable you to assess the
      claim. If you assert that a date is required, please provide the citation for
      same so that we may consider the matter further. The information
      provided above allows you to sufficiently assess the asserted privileges.
      The date is largely irrelevant as the dates of employment and the dates of
      holding positions on the board encompass the “relevant time period.”
      With the exception of James Barnes, who expressly retained our firm to
      represent him in responding to the Curling subpoenas, communications
      with employees or representatives of Coffee County occurred only during
      their tenure with Coffee County. It would be unduly burdensome to non-
      party Coffee County to require the identification of these irrelevant dates.

(Ex. B, p. 4). Plaintiffs’ subpoenas encompass scores of privileged documents and

communications. (Doc. 1, Exhibits 1 and 2). Considering the sheer number of privileged

documents, it would be unduly burdensome to require the CCBOE to provide

meticulous details for each individual document. The Updated Privilege Log is sufficient

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for Plaintiffs to assess the asserted privileges and thus satisfies the requirement under

Fed. R. Civ. P. 26. The Court should deny Plaintiffs’ Motion to Compel as to the issue of

the privilege log for this separate and independent reason.

                                     CONCLUSION

       The Court should deny Plaintiffs’ Motion to Compel as to the issue of the

privilege log for the separate and independent reasons that (1) Plaintiffs failed to timely

object to the Updated Privilege Log and confer in good faith with the CCBOE prior to

filing their Motion to Compel; and (2) the Updated Privilege Log is sufficient to enable

Plaintiffs to assess the CCBOE’s claims of privilege.

       This 29th day of November, 2023.



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                           CERTIFICATE OF SERVICE

      This is to certify that I have this day caused electronic notification of filing and

service of the foregoing to be made upon counsel of record for the parties by filing the

same using the Court’s CM/ECF filing system.



This 29th day of November, 2023.

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